                                                              1   JONES DAY                                                JONES DAY
                                                                  HAROLD K. GORDON, ESQ.                                   RANDALL E. KAY, ESQ.
                                                              2   (pro hac vice)                                           (pro hac vice)
                                                                  hkgordon@jonesday.com                                    rekay@jonesday.com
                                                              3
                                                                  250 Vesey Street                                         4655 Executive Drive, Suite 1500
                                                              4   New York, New York 10281                                 San Diego, California 92121
                                                                  Telephone: (212) 326-3939                                Telephone: (858) 314-1139
                                                              5   Facsimile: (212) 755-7306                                Facsimile: (844) 345-3178
                                                              6   CAMPBELL & WILLIAMS                                      JONES DAY
                                                                  PHILIP R. ERWIN, ESQ. (11563)                            ANNA E. RAIMER, ESQ.
                                                              7
                                                                  pre@cwlawlv.com                                          (pro hac vice)
                                                              8   710 South Seventh Street, Suite A                        aeraimer@jonesday.com
                                                                  Las Vegas, Nevada 89101                                  717 Texas Street, Suite 3300
                                                              9   Telephone: (702) 382-5222                                Houston, Texas 77002
710 SOUTH SEVENTH STREET, SUITE A, LAS VEGAS, NEVADA 89101




                                                                  Facsimile: (702) 382-0540                                Telephone: (832) 239-3786
                                                             10                                                            Facsimile: (832) 239-3600
           Phone: 702.382.5222 • Fax: 702.382.0540




                                                             11
                                                                  Attorneys for Defendants
               www.campbellandwilliams.com




                                                             12   Light & Wonder, Inc., LNW Gaming, Inc.,
                                                                  and SciPlay Corporation
                                                             13
                                                                                            UNITED STATES DISTRICT COURT
                                                             14
                                                                                                       DISTRICT OF NEVADA
                                                             15
                                                             16                                                      CASE NO.: 2:24-cv-00382-GMN-MDC
                                                                    ARISTOCRAT TECHNOLOGIES, INC.
                                                             17     and ARISTOCRAT TECHNOLOGIES
                                                                    AUSTRALIA PTY LTD.,                              DEFENDANTS’ MOTION TO DISMISS
                                                             18                                                      PLAINTIFFS’ COMPLAINT
                                                                                         Plaintiffs,
                                                             19     vs.
                                                             20     LIGHT & WONDER, INC., LNW
                                                                    GAMING, INC., and SCIPLAY
                                                             21     CORPORATION,
                                                             22                          Defendants,
                                                             23
                                                             24

                                                             25
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                                                             27
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                                                                                                                                         -v-
                                                              1           Defendants Light & Wonder, Inc., LNW Gaming, Inc., and SciPlay Corporation

                                                              2   (collectively, “L&W” or “Defendants”) submit this Motion to Dismiss (“Motion”) the Complaint

                                                              3   filed by Plaintiffs Aristocrat Technologies, Inc. and Aristocrat Technologies Australia Pty Ltd.
                                                              4   (collectively, “Aristocrat” or “Plaintiffs”) pursuant to Federal Rule of Civil Procedure 12(b)(6) and
                                                              5   respectfully request that this Court dismiss all claims asserted in the Complaint.
                                                              6   I.      INTRODUCTION
                                                              7           Aristocrat’s Complaint impermissibly seeks to leverage trade secret, copyright, and trade
                                                              8   dress law to undermine legitimate competition with L&W, one of the leading global games
                                                              9
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                                                                  companies—and Aristocrat’s primary competitor. However, the purpose of fair notice pleading is to
                                                             10   protect L&W from the burden of discovery into its proprietary products’ features based on its
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                                                             11   competitor’s threadbare allegations and speculative conclusions. Aristocrat does not clear this bar.
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                                                             12           Aristocrat’s trade secret misappropriation claims are entirely speculative. Aristocrat’s
                                                             13
                                                                  Complaint fails to plausibly identify any information—let alone trade secret information—that
                                                             14
                                                                  L&W acquired or used to develop its Dragon Train games. Instead, despite acknowledging that
                                                             15
                                                                  L&W has been creating successful casino games for decades, Aristocrat speculates (based
                                                             16
                                                                  exclusively on “information and belief”) that L&W must have stolen and used Aristocrat’s trade
                                                             17
                                                                  secrets simply because L&W’s Dragon Train games allegedly “feel similar” to Aristocrat’s Dragon
                                                             18
                                                                  Link games. As courts in this Circuit have routinely held, such threadbare, circumstantial allegations
                                                             19
                                                                  do not state a plausible claim for trade secret misappropriation.
                                                             20
                                                                          Aristocrat’s copyright and trade dress claims similarly lack facts sufficient to put L&W on
                                                             21
                                                                  fair notice of what Aristocrat contends has been infringed or what Aristocrat alleges to be infringing.
                                                             22
                                                                  Instead, Aristocrat stitches together its claims of infringement based on a patchwork comparison
                                                             23
                                                                  between cherry-picked elements of various thematically-distinct and outdated versions of L&W’s
                                                             24
                                                                  Jewel of the Dragon games and its own Dragon Link games, without identifying which elements of
                                                             25
                                                                  which versions are allegedly protected or infringing. Accordingly, Aristocrat’s Complaint should be
                                                             26
                                                                  dismissed in its entirety.
                                                             27
                                                             28
                                                                                                               1
                                                                  II.    BACKGROUND
                                                              1
                                                                         L&W is the leading cross-platform global games company, creating unique and immersive
                                                              2
                                                                  content that forges lasting connections with players. L&W recently launched its wildly successful
                                                              3
                                                                  Dragon Train product after lengthy, independent development. In a transparent effort to interfere
                                                              4
                                                                  with L&W’s launch of this game in the United States, Aristocrat filed the Complaint and
                                                              5
                                                                  simultaneously sought discovery to conduct a “preliminary assessment” of its alleged trade secret
                                                              6
                                                                  claim. ECF Nos. 1 (“Compl.”), 3. In a March 26, 2024 Order (ECF No. 33), the Court denied in part
                                                              7
                                                                  Aristocrat’s request for expedited discovery as lacking good cause and being overly broad and
                                                              8
                                                                  unduly burdensome (although the Court ordered L&W to produce a small subset of documents that
                                                              9
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                                                                  had previously been produced in a corresponding Australian proceeding, which L&W did on April
                                                             10
                                                                  3, 2024).
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                                                             12          Aristocrat bases its claims in the Complaint on its Dragon Link games,1 which are “a

                                                             13   collection of ten Asian-themed games,” all with audiovisual materials that are thematically different

                                                             14   between the ten game titles, such as “Panda Magic,” “Genghis Khan,” and “Peacock Princess.”2

                                                             15   Compl. ¶ 24; Request for Judicial Notice (“RJN”), Ex. I. However, Aristocrat’s claimed copyright

                                                             16   and trade dress rights are not with respect to any specific Dragon Link game. This failure in pleading

                                                             17   is critical given the very different audiovisual elements in each of the ten games, as demonstrated by

                                                             18   the depictions in the Complaint and its attached exhibits, examples of which are shown below, and

                                                             19   in the Request for Judicial Notice, filed herewith, at Ex. I:

                                                             20
                                                             21
                                                             22   1
                                                                    Although the causes of action alleged in the Complaint are all based on Aristocrat’s purported
                                                                  rights in the Dragon Link (and to some extent, Lightning Link) games, Aristocrat’s misappropriation
                                                             23   of trade secrets claim is directed against L&W’s Dragon Train game (Compl. ¶ 128), while
                                                             24   Aristocrat’s copyright and trade dress claims are asserted against L&W’s Jewel of the Dragon games.
                                                                  Compl. ¶¶ 70, 137, 145.
                                                             25
                                                                  2
                                                                    Aristocrat alleges that it has registered copyrights in “certain” audiovisual elements of the games,
                                                             26   which appear to be limited to the game titles Golden Century (“Emperor – Image”), Peacock Princess
                                                                  (“Princess – Image”), Autumn Moon (“Goddess” and “Hold & Spin”), and Spring Festival (“Hold
                                                             27
                                                                  & Spin Feature”). Compl. Ex. A; RJN, Exs. A–D The sixth listed registration is for an “image” from
                                                             28   a title of a different game series, “Grand Legends.” RJN, Ex. D.
                                                                                                                 2
                                                                               Examples of Different Titles Under Aristocrat’s Dragon Link Games
                                                              1
                                                                    Golden Century & Happy and Prosperous                Happy and Prosperous, Panda Magic,
                                                              2                                                           Golden Century & Autumn Moon
                                                              3
                                                              4
                                                              5
                                                              6
                                                              7
                                                              8
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                                                                  See Compl. Exhs. B, C, I & L. Furthermore, Aristocrat suggests some of the audiovisual features at
                                                             10   issue are from its multi-themed Lightning Link games. See, e.g., Compl. ¶¶ 23, 37-39, 111.
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                                                             11          In addition to its Dragon Train game, L&W distributes the well-known Jewel of the Dragon
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                                                             12   series of games. Compl. ¶ 71. L&W offers four different games in the Jewel of the Dragon series,
                                                             13   which all have very different audiovisual elements from each other, as shown by the opening screens
                                                             14
                                                                  of the current versions of the games shown below:
                                                             15
                                                                                    Different Titles Under L&W’s Jewel of the Dragon Games
                                                             16
                                                                   Prosperity Tortoise         Red Phoenix            Thousand Warriors      Valley of the Tiger
                                                             17
                                                             18
                                                             19
                                                             20
                                                             21
                                                             22
                                                             23
                                                             24
                                                             25
                                                                  See RJN, Ex. H.
                                                             26
                                                                         As Aristocrat is fully aware—but failed to advise this Court—since L&W’s first design of
                                                             27
                                                                  the Jewel of the Dragon games (Compl. ¶¶ 71, 94), L&W implemented significant additional
                                                             28
                                                                                                              3
                                                              1   changes to the games, such that the current versions of the different game themes distributed by

                                                              2   L&W are notably different from what is alleged and depicted in the Complaint. Examples from the

                                                              3   Complaint of still images from Aristocrat’s Dragon Link games, along with images from the current
                                                              4   versions of L&W’s Jewel of the Dragon games, are shown below:
                                                              5
                                                                         Aristocrat’s Dragon Link Games                L&W Jewel of the Dragon Games
                                                              6                                           Topper / Logo
                                                              7
                                                              8
                                                              9
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                                                             10
                                                                                                     Jackpot Display / Meter
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                                                             11
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                                                             12
                                                             13
                                                             14
                                                                                                Jackpot Display / Bonus Feature
                                                             15
                                                             16
                                                             17
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                                                                                                             4
                                                                                                  Winner Screen with “Coin Shower”
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                                                             11   See Compl. ¶¶ 73, 78, 81; RJN Ex. H. Despite the extensive changes to the Jewel of the Dragon
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                                                             12   games, the Complaint is not limited to the old versions of the games, and Aristocrat does not specify
                                                             13   which version of which Jewel of the Dragon game title allegedly infringes its copyright or trade dress
                                                             14
                                                                  rights.
                                                             15
                                                                  III.      LEGAL STANDARD
                                                             16
                                                                            This Court is well versed in the standard for dismissal pursuant to Rule 12(b)(6). First, a
                                                             17
                                                                  well-pleaded complaint “demands more than an unadorned, the-defendant-unlawfully-harmed-me
                                                             18
                                                                  accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 681 (2009). Second, allegations must go “above
                                                             19
                                                                  the speculative level” to survive Rule 12(b)(6) scrutiny. Bell Atl. Corp. v. Twombly, 550 U.S. 544,
                                                             20
                                                                  555 (2007). Finally, no deference is given to legal conclusions and conclusory factual allegations,
                                                             21
                                                                  which are not entitled to any assumption of truth. Iqbal, 556 U.S. at 678, 681.
                                                             22
                                                                            As a general rule, when considering a motion to dismiss, courts are limited to the allegations
                                                             23
                                                                  in the complaint. See, e.g., Iqbal, 556 U.S. at 679. However, courts may also consider “information
                                                             24
                                                                  . . . made publicly available by government entities” or other materials appropriate for the taking of
                                                             25
                                                                  judicial notice. Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).
                                                             26
                                                             27
                                                             28
                                                                                                                 5
                                                                  IV.    ARGUMENT
                                                              1
                                                                         A.      ARISTOCRAT FAILS TO MEET THE PLEADING STANDARDS TO STATE
                                                              2                  A TRADE SECRET CLAIM
                                                              3          Aristocrat’s trade secret claim fails each axis of the Rule 8 pleading standard. First,

                                                              4   Aristocrat gives no reasonable notice of the bounds of its (at best) nebulously-described trade secrets:

                                                              5   “underlying game math and functionality.” Instead, and because Aristocrat does not allege that L&W
                                                              6   actually took anything from Aristocrat, Aristocrat alleges trade secrets that encompass both the
                                                              7   entirety of Aristocrat’s product functionality and nearly every general mathematical system common
                                                              8   to casino games. Second, Aristocrat’s allegations are devoid of any factual content that support a
                                                              9
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                                                                  reasonable inference of, or plausibly state a claim for, misappropriation. Indeed, Aristocrat admits
                                                             10   as much in its Motion for Expedited Discovery, where Aristocrat repeatedly insists that it lacks
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                                                             11   factual support for its claims. See Dkt. 3 at 2, 9, 12, 14 (seeking expedited discovery to conduct a
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                                                             12   “preliminary assessment of its claims”). Specifically, Aristocrat does nothing more than speculate
                                                             13   that L&W must have acquired and used Aristocrat trade secrets based on only two allegations: (1)
                                                             14
                                                                  L&W hired two former Aristocrat employees years after they left Aristocrat, and (2) L&W’s Dragon
                                                             15
                                                                  Train product “feels” “similar” to Aristocrat’s Dragon Link product. Taken together, Aristocrat’s
                                                             16
                                                                  inferential allegations are sheer guesswork, and do not state a claim for trade secret misappropriation.
                                                             17
                                                                                 1.      Claims of Trade Secret Misappropriation Require Pleading of
                                                             18                          Protectable Trade Secrets With Sufficient Particularity

                                                             19          While the DTSA and Nevada UTSA define the term “trade secret,” caselaw provides the

                                                             20   pleading standards that a plaintiff must meet to allege a protectable trade secret. First, trade secret

                                                             21   law does not allow a party to claim rights over an entire category of math or technology; rather, it is

                                                             22   incumbent on the plaintiff to plead how its alleged trade secrets differ (1) from what is generally

                                                             23   known in the industry; and (2) from what the plaintiff has placed in the public domain, such as in
                                                             24   patent filings. These pleadings standards are critical in a case such as this where the parties directly
                                                             25   compete in the same market for slot machines. Aristocrat must plead what it asserts as its allegedly
                                                             26   proprietary techniques within the broad category of “game math.” As Aristocrat does not own
                                                             27   exclusive rights to use “game math” in slot machines, its complaint must indicate the particular
                                                             28
                                                                                                                6
                                                              1   facets of what Aristocrat claims constitutes its proprietary approach to “game math.”

                                                              2          Ninth Circuit and Nevada law require that the plaintiff’s complaint “identify its trade secrets

                                                              3   with ‘sufficient particularity . . . to permit the defendant to ascertain at least the boundaries within
                                                              4   which the secret lies,’ and ‘to separate it from matters of general knowledge in the trade or of special
                                                              5   knowledge of those persons . . . skilled in the trade.’” Elko, Inc. v. WTH Com. Servs., LLC, No. 3:22-
                                                              6   cv-00015-MMD-CLB, 2023 WL 6141623, at *3 (D. Nev. Sept. 20, 2023) (quotation omitted). This
                                                              7   conforms with the definition of trade secret under the DTSA and Nevada UTSA, which require that
                                                              8   a “trade secret” not be “generally known” industry information. 18 U.S.C. § 1839(3)(B); Nev. Rev.
                                                              9
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                                                                  Stat. § 600A.030(5)(a)(1).
                                                             10          It is not sufficient for a plaintiff to list categories of alleged trade secrets; rather, a complaint
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                                                             11   should set forth the specific proprietary information within a category that constitutes the asserted
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                                                             12
                                                                  trade secrets. “[A]llegations of broad categories relating to business or technology are not adequate
                                                             13
                                                                  to support a trade secrets claim under the DTSA.” Human Longevity, Inc. v. J. Craig Venter Inst.,
                                                             14
                                                                  Inc., No. 18-cv-1656-WQH-LL, 2018 WL 6617633, at *4 (S.D. Cal. Dec. 18, 2018) (finding lack of
                                                             15
                                                                  specificity constituted a failure “to allege facts giving rise to a plausible inference of the existence
                                                             16
                                                                  of a trade secret within the meaning of the DTSA.”); see also Space Data Corp. v. X, No. 16-CV-
                                                             17
                                                                  03260-BLF, 2017 WL 5013363, at *2 (N.D. Cal. Feb. 16, 2017) (allegations such as “data on the
                                                             18
                                                                  propagation of radio signals from stratospheric balloon-based transceivers” did not provide
                                                             19
                                                                  sufficient “notice of the boundaries of this case”).
                                                             20
                                                                         Even under the Rule 8 general pleading standard, a plaintiff must allege a specific trade
                                                             21
                                                                  secret, and not simply a conclusory list of the “forms and types” of alleged trade secrets. Power
                                                             22
                                                                  Integrations, Inc. v. De Lara, No. 20-CV-410-MMA (MSB), 2020 WL 1467406, at *18 (S.D. Cal.
                                                             23
                                                                  Mar. 26, 2020). Conclusory and generalized allegations of trade secrets are insufficient at the
                                                             24
                                                                  pleading stage. Vendavo, Inc. v. Price f(x) AG, No. 17-cv-06930-RS, 2018 WL 1456697, at *4 (N.D.
                                                             25
                                                                  Cal. Mar. 23, 2018). “[M]erely listing general systems which ‘may’ qualify for protection is
                                                             26
                                                                  insufficient,” particularly where a plaintiff has not “adequately clarified and narrowed ‘catchall’
                                                             27
                                                             28
                                                                                                                 7
                                                              1   terms and pointed to tangible potential secrets[.]” Elko, 2023 WL 6141623, at *3; see also Synopsys,

                                                              2   Inc. v. ATopTech, Inc., No. C 13-CV-02965 SC, 2013 WL 5770542, at *6 (N.D. Cal. Oct. 24, 2013)

                                                              3   (concluding plaintiff’s identification of “proprietary input and output formats, scripts, and technical
                                                              4   product documentation,” was impermissibly conclusory).
                                                              5          Finally, a complaint that qualifies the alleged trade secrets with broad catchall terms like
                                                              6   “including,” “such as,” “among other things,” and “without limitation” can prevent the defendant
                                                              7   from ascertaining the bounds of the claimed trade secrets. See Becton, Dickinson & Co. v. Cytek
                                                              8   Biosciences Inc., No. 18-cv-00933-MMC, 2018 WL 2298500, at *3 (N.D. Cal. May 21, 2018).
                                                              9
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                                                                                 2.      Aristocrat’s Complaint Fails to Plead a Protectable Trade Secret
                                                             10          Aristocrat’s Complaint fails to meet the governing pleading standards for articulating any
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                                                             11   protectable trade secret. Aristocrat broadly pleads misappropriation of a category of technology and
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                                                             12   general systems it calls “game math” and which Aristocrat repeatedly refers to vaguely as
                                                             13
                                                                  “underlying game math and functionality.” See Compl. ¶¶ 123-125, 150-152. Without explanation,
                                                             14
                                                                  Aristocrat alleges that the “underlying game math and functionality” are responsible for the
                                                             15
                                                                  “control” of “gameplay” and “payouts.” See Compl. ¶¶ 123, 150. Such allegations fail to inform
                                                             16
                                                                  what plausibly constitutes a trade secret and how that information differs from general knowledge
                                                             17
                                                                  in the industry or specialized knowledge in the trade.
                                                             18
                                                                         Aristocrat cannot credibly claim to own all “game math” for electronic gaming machines as
                                                             19
                                                                  its trade secrets.3 Nor does Aristocrat’s broad, non-exhaustive list of “examples” of its “game math
                                                             20
                                                                  and functionality” plausibly allege protectable trade secrets. Aristocrat’s “examples” simply recite a
                                                             21
                                                                  wide array of general systems plainly common to many casino games, such as probability, volatility,
                                                             22
                                                                  and player returns. Compl. ¶ 36. Aristocrat fails to plausibly allege that any such functionality is not
                                                             23
                                                                  generally known in the industry or within the special knowledge of persons skilled in the trade.
                                                             24
                                                             25
                                                             26   3
                                                                    Aristocrat’s Complaint makes various references to trade secrets in different places. This Motion
                                                                  addresses the alleged trade secrets that Aristocrat accuses L&W of misappropriating in its trade
                                                             27
                                                                  secret causes of action (Count I and Count IV), rather than any trade secrets Aristocrat mentions
                                                             28   elsewhere but does not assert were misappropriated in those causes of action.
                                                                                                              8
                                                              1   Indeed, many of these systems, such as the reel strips, symbols and game features that Aristocrat

                                                              2   references, are seen by anyone who plays Aristocrat’s games—those matters cannot be trade

                                                              3   secrets.4 These “general systems” do not point to any “tangible potential secrets” and are insufficient
                                                              4   to plead protectable trade secrets. Elko, 2023 WL 6141623, at *3.
                                                              5          The only distinct application of these general systems Aristocrat alleges (albeit in an
                                                              6   unacceptably conclusory manner) is its “proprietary implementation of the ‘Hold & Spin’ bonus
                                                              7   game.” Compl. ¶ 36. Yet despite acknowledging that “dozens” of competitors (including L&W)
                                                              8   “have offered ‘Hold & Spin’ games,” Aristocrat says nothing about whether or how its
                                                              9
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                                                                  implementation of this common industry feature is “proprietary” or distinct from industry
                                                             10   knowledge. Compl.¶ 108; Synopsys, 2013 WL 5770542, at *6 (“Materials are not trade secrets just
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                                                             11   because [plaintiff] says they are: there must be some minimally plausible factual explanation for
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                                                             12
                                                                  why trade secret protection applies.”). Nor has Aristocrat limited its alleged trade secrets to its
                                                             13
                                                                  proprietary implementation of the “Hold & Spin” feature.
                                                             14
                                                                         Moreover, Aristocrat does not identify which components of its “underlying game math and
                                                             15
                                                                  functionality” L&W allegedly misappropriated. Listing the entire universe of its potential trade
                                                             16
                                                                  secrets does not put L&W or this Court on fair notice of the bounds of Aristocrat’s trade secret
                                                             17
                                                                  claims; Aristocrat must fairly notice the specific trade secrets it “has a basis to believe actually were
                                                             18
                                                                  misappropriated here.” Vendavo, Inc., 2018 WL 1456697, at *4. Aristocrat alleges its trade secrets
                                                             19
                                                                  are the entirety of its game’s “functionality” to capture anything L&W might have taken to develop
                                                             20
                                                                  its competing game, despite no allegation or facts suggesting that L&W actually took anything. But
                                                             21
                                                                  Aristocrat cannot “unlock the doors of discovery” to every proprietary aspect of L&W’s competing
                                                             22
                                                             23
                                                             24
                                                                  4
                                                             25     Other aspects of Aristocrat’s technology are disclosed in Aristocrat’s patent filings. Exhibit R to
                                                                  Aristocrat’s Complaint references that Aristocrat’s head of game design is the lead inventor on a
                                                             26   range of US patents assigned to Aristocrat. Yet nowhere does Aristocrat’s Complaint distinguish its
                                                                  asserted trade secrets from the game math and functionality generally known in the industry or
                                                             27
                                                                  disclosed in Aristocrat’s public patent filings.
                                                             28
                                                                                                                9
                                                              1   game “armed with nothing more than conclusions.” Iqbal, 556 U.S. at 678-79.5 The breadth of

                                                              2   Aristocrat’s trade secrets—absent any facts plausibly suggesting L&W misappropriated the entirety

                                                              3   of Aristocrat’s “underlying game math and functionality”—is wholly insufficient to constitute fair
                                                              4   notice pleading or to subject L&W to impermissibly burdensome discovery encompassing the whole
                                                              5   functionality of L&W’s competing games.
                                                              6          In summary, Aristocrat’s trade secret allegations fail to meet the governing pleading
                                                              7   standards as Aristocrat (1) fails to articulate how its broad “game math” trade secrets differ from
                                                              8   generally known information in the industry; (2) improperly pleads the entire category of technical
                                                              9
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                                                                  “game math” information; (3) pleads a conclusory list of general casino game systems; (4)
                                                             10   improperly uses catchall phrases such as “including without limitation” in paragraphs 123 and 150
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                                                             11   of the Complaint; and (5) fails to identify which components of its “game math and functionality”
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                                                             12
                                                                  L&W allegedly misappropriated. Accordingly, Aristocrat has failed to adequately plead its trade
                                                             13
                                                                  secrets in a manner that separates them from matters of general knowledge in the trade or of special
                                                             14
                                                                  knowledge of those persons skilled in the trade.
                                                             15
                                                                                 3.      Aristocrat Fails to Plausibly Plead Misappropriation
                                                             16
                                                                         Aristocrat fails to plausibly allege that any L&W Defendant acquired or used its trade secrets.
                                                             17
                                                                  To establish misappropriation, Aristocrat must plausibly allege that each6 of the L&W Defendants
                                                             18
                                                                  either: (1) acquired Aristocrat’s trade secrets by improper means, or (2) disclosed or used
                                                             19
                                                             20
                                                                  5
                                                             21    Nor could discovery even be reasonably tailored under Aristocrat’s current allegations, as this
                                                                  Court recognized in denying the majority of Aristocrat’s Motion for Expedited Discovery.
                                                             22
                                                                  6
                                                                    Aristocrat does not distinguish any conduct or knowledge between the three L&W entities it names
                                                             23   as Defendants. Accordingly, to the extent Aristocrat alleges any cognizable conduct or knowledge,
                                                             24   it has not pled how each of the L&W entities separately engaged in misappropriation with the
                                                                  requisite knowledge. Vendavo, 2018 WL 1456697, at *4 (explaining “the lack of specificity is
                                                             25   exacerbated by the fact that the complaint does not distinguish between” different defendant
                                                                  entities); Navigation Holdings, LLC v. Molavi, 445 F. Supp. 3d 69, 79 (N.D. Cal. 2020) (dismissing
                                                             26   trade secret claims where plaintiff failed to “differentiat[e] what each specific Defendant is alleged
                                                                  to have done”); West v. Bank of Am., N.A., No. 2:10-CV-1966 JCM GWF, 2011 WL 2491295 (D.
                                                             27
                                                                  Nev. June 22, 2011) (“[R]ule 8 prohibits lumping all defendants together in a complaint without
                                                             28   distinguishing between them or specifying which defendant is targeted by which allegation.”).
                                                                                                                10
                                                              1   Aristocrat’s trade secrets without consent when it knew or had reason to know that knowledge of

                                                              2   the trade secret was derived through improper means, acquired under circumstances demanding

                                                              3   secrecy, or derived through a person who owed a duty to plaintiff to maintain secrecy.7 Elko, 2023
                                                              4   WL 6141623, at *5.
                                                              5             “Acquisition” under the DTSA and NUTSA requires a plausible allegation that L&W
                                                              6   acquired Aristocrat’s trade secrets by “improper means,” which include “theft, bribery,
                                                              7   misrepresentation, breach or inducement of a breach of a duty to maintain secrecy, or espionage
                                                              8   through electronic or other means.” 18 U.S.C. § 1839(6)(A). Similarly, misappropriation by “use”
                                                              9
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                                                                  is not a strict liability claim—Aristocrat must plausibly allege that, at the time of use, each L&W
                                                             10   Defendant knew or had reason to know that knowledge of the trade secret was derived through
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                                                             11   improper means, acquired under circumstances demanding secrecy, or derived through a person who
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                                                             12
                                                                  owed a duty to plaintiff to maintain secrecy. Elko, 2023 WL 6141623, at *5. This knowledge element
                                                             13
                                                                  is sufficiently alleged “where the plaintiff pleads facts to substantiate the defendant’s knowledge.”
                                                             14
                                                                  Navigation Holdings, 445 F. Supp. at 79.
                                                             15
                                                                            Here, Aristocrat alleges misappropriation by acquisition and use.8 Specifically, Aristocrat
                                                             16
                                                                  claims—based solely on guesswork, framed as “information and belief”—that L&W: (1) “acquired
                                                             17
                                                                  through improper means one or more of Aristocrat’s trade secrets” (Compl. ¶¶ 127, 154), and (2)
                                                             18
                                                                  has “used without authorization one or more of Aristocrat’s trade secrets to develop L&W’s Dragon
                                                             19
                                                                  Train games[.]” Compl. ¶¶ 128, 155. However, Aristocrat offers only two factual allegations in
                                                             20
                                                                  support of the “plausibility” of its conclusory trade secret claims: (1) L&W hired Ms. Charles and
                                                             21
                                                                  Mr. Sefton years after they left Aristocrat,9 and (2) L&W’s Dragon Train games allegedly “appear[
                                                             22
                                                             23   7
                                                                    As the elements of the DTSA and NUTSA are similar, courts regularly analyze those claims
                                                             24   together. See Elko, 2023 WL 6141623, at *2 (citation omitted).
                                                                  8
                                                             25       Aristocrat does not allege misappropriation by disclosure.

                                                             26   9
                                                                    Aristocrat’s Complaint suggests than another former employee, Dinh Toan Tran, allegedly
                                                                  downloaded Aristocrat trade secrets before leaving at the end of 2023. However, Aristocrat does not
                                                             27
                                                                  allege that Mr. Tran ever provided services to L&W, and none of Aristocrat’s trade secret counts
                                                             28   refer to Mr. Tran’s conduct. The Complaint acknowledges Mr. Tran left Aristocrat at the end of
                                                                                                              11
                                                              1   ] to” “feel” similar to Aristocrat’s Dragon Link games. Even if its scant allegations were taken as

                                                              2   true (which they are not), Aristocrat’s guesswork does not state a plausible claim for

                                                              3   misappropriation.
                                                              4                         (a)     Aristocrat fails to plausibly allege that any L&W Defendant acquired
                                                                                                Aristocrat trade secrets by improper means
                                                              5
                                                                         Aristocrat does not allege any facts plausibly suggesting that any L&W Defendant actually
                                                              6
                                                                  acquired Aristocrat trade secrets by any means, let alone “improper means.” Aristocrat raises no
                                                              7
                                                                  allegations—even circumstantial—that Ms. Charles or Mr. Sefton took Aristocrat’s trade secrets
                                                              8
                                                                  when they left or disclosed any Aristocrat confidential information to L&W after being hired.
                                                              9
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                                                                  Likewise, Aristocrat does not allege that any L&W Defendant independently acquired Aristocrat
                                                             10
                                                                  trade secrets by some other means.
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                                                                         Rather, Aristocrat’s unsupported speculation that either Ms. Charles or Mr. Sefton must have
                                                             12
                                                             13   disclosed Aristocrat’s alleged trade secrets to L&W is nothing more than an assertion of the

                                                             14   “inevitable disclosure doctrine,” which has been rejected by courts in the Ninth Circuit because of

                                                             15   “its anticompetitive effects.” RBC Bearings Inc. v. Caliber Aero, LLC, No. SACV-12-1442-FMO-

                                                             16   PLA, 2016 WL 6562068, at *11 (C.D. Cal. Aug. 1, 2016); Pellerin v. Honeywell Int’l, Inc., 877 F.

                                                             17   Supp. 2d 983, 989-90 (S.D. Cal. 2012).

                                                             18          Moreover, Aristocrat does not allege any conduct by Ms. Charles, Mr. Sefton, or any of the

                                                             19   L&W Defendants amounting to improper means. Other than hiring Ms. Charles and Mr. Sefton

                                                             20   (many years after they left Aristocrat),10 Aristocrat does not allege any relevant conduct by L&W at

                                                             21   all. But hiring former Aristocrat employees—particularly long after they left—does not constitute
                                                             22   “improper means.” Apple Inc. v. Rivos, Inc., No. 5:22-CV-02637-EJD, 2023 WL 5183034, at *8
                                                             23
                                                             24   2023, after L&W released Dragon Train, so the allegations relating to Mr. Tran are irrelevant to
                                                                  Aristocrat’s trade secret misappropriation claim.
                                                             25
                                                                  10
                                                                     While Aristocrat alleges that Ms. Charles and Mr. Sefton left Aristocrat in 2017 and 2016,
                                                             26   respectively (Compl. ¶¶ 65, 67), Aristocrat does not explain when either started working for L&W.
                                                                  But Aristocrat’s allegations that Ms. Charles’s “inaugural product” at L&W was released in 2023
                                                             27
                                                                  suggests that neither started working for L&W until many years after leaving Aristocrat. Compl. ¶
                                                             28   115.
                                                                                                              12
                                                              1   (N.D. Cal. Aug. 11, 2023) (holding that hiring plaintiff’s employees “does not amount to improper

                                                              2   acquisition” of plaintiff’s trade secrets). Insisting otherwise would chill “employee mobility” by

                                                              3   giving competitors a basis for trade secret claims whenever their employees left to join a competitor.
                                                              4   Perrin Bernard Supowitz, LLC v. Morales, No. 23-55189, 2024 WL 411714, at *2 (9th Cir. Feb. 5,
                                                              5   2024).
                                                              6                           (b)     Aristocrat fails to plausibly allege that any L&W Defendant used
                                                                                                  Aristocrat’s trade secrets
                                                              7
                                                                           Aristocrat’s speculative allegations are also wholly insufficient to plausibly allege that any
                                                              8
                                                                  L&W Defendant knowingly used Aristocrat’s trade secrets.11 Like acquisition, Aristocrat offers no
                                                              9
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                                                                  allegations regarding how or when L&W supposedly “used” its trade secrets. Space Data, 2017 WL
                                                             10
                                                                  5013363, at *2 (dismissing trade secret claims based on “speculative” allegations of use).
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                                                                  Aristocrat’s only circumstantial allegations of “use” are that L&W’s Dragon Train games “feel”
                                                             12
                                                             13   “similar” to Aristocrat’s Dragon Link games, and that “L&W could only have achieved this degree

                                                             14   of similarity with Dragon Link’s gameplay by use of Aristocrat’s trade secrets.” Compl. ¶ 111. But

                                                             15   circumstantial allegations regarding product similarity, even if true, do not support a reasonable

                                                             16   inference that L&W used Aristocrat’s trade secrets to develop its Dragon Train product, particularly

                                                             17   where Aristocrat acknowledges that L&W has been developing competing casino games for

                                                             18   decades. Brown v. Adidas Int., 938 F. Supp. 628, 634 (S.D. Cal. 1996) (“Allegations of [product]

                                                             19   similarity, without more, do not support a claim of misappropriation of trade secrets.”).

                                                             20            In any event, Aristocrat fails to plausibly allege that, at the time of use, each L&W Defendant

                                                             21   knew or had reason to know that knowledge of the trade secret was derived through improper means,
                                                             22   and instead, merely recites the elements of a trade secret claim. Compl. ¶ 128. The only allegation
                                                             23   Aristocrat articulates regarding L&W’s knowledge is that “when L&W hired Ms. Charles, it knew
                                                             24   that she had been working with the highly confidential math for Lightning Link and Dragon Link.”
                                                             25   Compl. ¶ 115. However, this is typical of any employer who hires experienced skilled employees,
                                                             26
                                                             27   11
                                                                    As a threshold matter, because Aristocrat’s failed to plausibly allege that L&W acquired any
                                                             28   Aristocrat trade secrets, the Court need not consider whether L&W “used” any trade secrets.
                                                                                                               13
                                                              1   and does not support a reasonable inference of misappropriation. Nothing Aristocrat alleges suggests

                                                              2   L&W had knowledge that anything used in Dragon Train’s development was a trade secret or

                                                              3   improperly acquired. Navigation Holdings, 445 F. Supp. 3d at 79 (dismissing trade secret claims
                                                              4   where plaintiff’s conclusory assertions were “devoid of any factual substantiation of Defendants’
                                                              5   knowledge”). Accordingly, Aristocrat fails to plead any non-conclusory facts sufficient to raise a
                                                              6   reasonable inference that L&W had the knowledge required for a plausible claim of
                                                              7   misappropriation by use.
                                                              8                         (c)     Aristocrat’s reliance on “information and belief” is insufficient to
                                                                                                plausibly allege misappropriation
                                                              9
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                                                                         Notably, nearly all of Aristocrat’s allegations regarding misappropriation—including its
                                                             10
                                                                  allegations of acquisition and use—are based exclusively on “information and belief.” See, e.g.,
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                                                                  Compl. ¶¶ 127-130 (DTSA), 154-157 (NUTSA). Aristocrat’s qualification of its allegations suggests
                                                             12
                                                             13   Aristocrat “likely lacks knowledge of underlying facts to support [its] assertion[s], and is instead

                                                             14   engaging in speculation to an undue degree.” Delphix Corp. v. Actifo, Inc., No. C 13-4613 RS, 2014

                                                             15   WL 4628490, at *2 (N.D. Cal. Mar. 19, 2014); see also Blantz v. Cal. Dep’t of Corr. & Rehab., Div.

                                                             16   of Corr. Health Care Servs., 727 F.3d 917, 926–27 (9th Cir. 2013) (holding conclusory allegations

                                                             17   raised “on information and belief” are insufficient to state a claim). Accordingly, Aristocrat’s

                                                             18   “information and belief” is insufficient to plausibly support its conclusory allegations that L&W

                                                             19   “acquired through improper means” or “used” “one or more of Aristocrat’s trade secrets[.]” Compl.

                                                             20   ¶¶ 127-128.

                                                             21          B.      ARISTOCRAT’S CLAIM FOR COPYRIGHT INFRINGEMENT FAILS
                                                             22          Aristocrat’s Complaint lacks sufficient specificity to provide fair notice of the boundaries of
                                                             23   Aristocrat’s “copyrighted work” or its theory of infringement. To state a claim for copyright
                                                             24   infringement, Aristocrat must sufficiently allege two elements: “(1) ownership of a valid copyright,
                                                             25   and (2) copying of constituent elements of the work that are original.” Feist Publ’ns, Inc. v. Rural
                                                             26   Tel. Serv. Co., 499 U.S. 340, 361 (1991). As to the second element, Aristocrat must plausibly allege
                                                             27   both copying and unlawful appropriation, i.e., that L&W copied enough of Aristocrat’s protected
                                                             28
                                                                                                              14
                                                              1   expression to render their works “substantially similar.” Skidmore as Tr. for Randy Craig Wolfe Tr.

                                                              2   v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020). However, the Complaint broadly asserts a

                                                              3   copyright in an unspecified collection of “audiovisual elements” from the multi-themed Dragon Link
                                                              4   (and Lightning Link) games without identifying which game is subject to the copyright claim or
                                                              5   explaining which portions of that game constitute original, protectable elements.12 Aristocrat also
                                                              6   fails to articulate a cognizable theory of infringement among the different versions of the various
                                                              7   thematically-distinct Jewel of the Dragon games. Although no version or theme of Jewel of the
                                                              8   Dragon is substantially similar to any version or theme of Dragon Link, L&W cannot defend against
                                                              9
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                                                                  Aristocrat’s copyright claim, including moving to dismiss based on the lack of substantial similarity
                                                             10   between the parties’ respective works, without fair notice of what Aristocrat specifically claims as
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                                                             11   its copyright and what L&W materials Aristocrat claims to be infringing.13 At best, certain of the
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                                                             12
                                                                  parties’ game titles within their respective Dragon Link and Jewel of the Dragon game series may
                                                             13
                                                                  have general, Asian-inspired themes in common, such as dragons or emperors, but the protectible
                                                             14
                                                                  expression of those themes is completely different.
                                                             15
                                                                                 1.      Aristocrat Fails to Allege the Specific Copyright Subject to its Claim
                                                             16
                                                                         Aristocrat’s Complaint, asserting ownership “of the copyright in the Dragon Link
                                                             17
                                                                  Audiovisual Elements” (Compl. ¶ 133), fails to satisfy the requirements of Rule 8(a) because it does
                                                             18
                                                                  not allege the specific copyrighted work that has allegedly been infringed. Aristocrat must “allege
                                                             19
                                                                  sufficient facts to give [L&W] fair notice” of the “works [that] are at issue.” MultiCraft Imports, Inc.
                                                             20
                                                             21
                                                                  12
                                                                    Aristocrat defines “Dragon Link Audiovisual Elements” as “includ[ing] but not limited to, original
                                                             22   artwork, animations, and computer-generated graphics that appear on the game displays, along with
                                                                  original sounds that are played on the game speakers.” Compl. ¶ 42.
                                                             23
                                                                  13
                                                             24      Non-infringement can be determined on a motion to dismiss, but without sufficient information
                                                                  as to what copyrighted work and which allegedly protectable elements of that work are subject to
                                                             25   the claim, or which version of which L&W game is allegedly infringing, the Court cannot compare
                                                                  the works to make a non-infringement determination. Christianson v. W. Publ’g Co., 149 F.2d 202,
                                                             26   203 (9th Cir. 1945) (“[W]hen the copyrighted work and the alleged infringement are both before the
                                                                  court, capable of examination and comparison, non-infringement can be determined on a motion to
                                                             27
                                                                  dismiss.”); MultiCraft Imports, 2017 WL 5664996, at *4 (finding that the court “cannot undertake”
                                                             28   the substantial similarity inquiry “absent more specific facts about each side’s works”).
                                                                                                               15
                                                              1   v. Mariposa USA, Inc., No. CV-16-3975-DMG-AJWX, 2017 WL 5664996, at *3 (C.D. Cal. Sept.

                                                              2   14, 2017) (“[Plaintiff’s] vague allegations that it owns copyrights in the content of its website and

                                                              3   product catalog are too indefinite to establish ownership of any copyrights.”); Jackson v. Netflix,
                                                              4   Inc., 506 F.Supp.3d 1007, 1017 (C.D. Cal. 2020) (dismissing copyright claim where “[p]laintiffs
                                                              5   inexplicably fail to provide cogent details concerning what works their registrations cover”).
                                                              6   However, Aristocrat makes no effort to specify which version of Dragon Link’s “audiovisual
                                                              7   elements” among its ten visually-distinct versions of Dragon Link actually comprise its asserted
                                                              8   copyright, nor does it describe which of those “audiovisual elements” are original elements subject
                                                              9
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                                                                  to copyright protection.14
                                                             10          First, Aristocrat fails to provide notice as to which Dragon Link game is the subject of its
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                                                             11   copyright claim. Aristocrat admits Dragon Link “is a game series” with “multiple game themes,”
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                                                             12
                                                                  having different “original artwork” and “animations.” Compl. ¶¶ 42, 72, 134; RJN, Ex. I. There are
                                                             13
                                                                  stark audiovisual differences between the ten different themes of Dragon Link, none of which are
                                                             14
                                                                  the subject of a copyright registration. See Compl. ¶ 134; RJN, Ex. I. Aristocrat concedes it has only
                                                             15
                                                                  registered “certain Dragon Link Audiovisual Elements” (id.), which appear to relate to four different
                                                             16
                                                                  themes of Dragon Link, as well as an image from an entirely different game series than Dragon Link.
                                                             17
                                                                  See Compl. ¶ 134; RJN, Ex. D. Yet, Aristocrat claims only a single “copyright” in an unspecified
                                                             18
                                                                  version of Dragon Link in the Complaint. See Compl. ¶ 133.
                                                             19
                                                                         Second, Aristocrat has not specifically described which “artwork, animations, and computer-
                                                             20
                                                                  generated graphics” or “sounds” (Compl. ¶ 42) within which Dragon Link game that L&W allegedly
                                                             21
                                                                  infringed. See, e.g., Salt Optics, Inc. v. Jand, Inc., No. SACV 10-0828 DOC, 2010 WL 4961702, at
                                                             22
                                                                  *6 (C.D. Cal. Nov. 19, 2010) (dismissing copyright claim where “[p]laintiff makes no attempt to
                                                             23
                                                                  identify which portions of the website … it accuses Defendants of infringing”). Aristocrat also fails
                                                             24
                                                             25
                                                             26   14
                                                                     Aristocrat admits that it has obtained copyright registrations covering only “certain of those
                                                                  elements” (Compl. ¶ 43), suggesting only certain elements of the games are subject to protection.
                                                             27
                                                                  This is especially curious given the dates of registration suggest Aristocrat obtained the registrations
                                                             28   for purposes of this litigation.
                                                                                                                16
                                                              1   to distinguish between “Dragon Link Trade Dress” and “Dragon Link Audiovisual Elements,”

                                                              2   leaving L&W to guess which of the audiovisual elements described in the Complaint comprise

                                                              3   Aristocrat’s asserted copyright as opposed to its alleged “Dragon Link Trade Dress.” Id. at *6
                                                              4   (dismissing copyright claim where “it is unclear whether [plaintiff’s allegations] are meant to
                                                              5   support Plaintiff’s trade dress claims or Plaintiff’s copyright claims”).
                                                              6          Third, Aristocrat fails to allege which of its “Dragon Link Audiovisual Elements” are original
                                                              7   and plausibly protected by copyright. See, e.g., Feist Publ’ns, 499 U.S. at 348 (“[C]opyright
                                                              8   protection may extend only to those components of a work that are original.”). The ideas within “ten
                                                              9
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                                                                  Asian-themed [slot] games” (Compl. ¶ 24)—such as dragons, a “dark-haired woman,” and “[c]oin
                                                             10   [s]howers” (Compl. ¶¶ 82, 84)—are not subject to copyright protection, only the particular
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                                                             11   expression of those non-functional elements.15 See, e.g., Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d
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                                                             12
                                                                  904, 913–14 (9th Cir. 2010), as amended (Oct. 21, 2010) (noting copyrights “would cover only [the]
                                                             13
                                                                  particular expression … not the idea itself … ideas, scenes a faire (standard features) and unoriginal
                                                             14
                                                                  components aren’t protectable.”); Data E. USA, Inc. v. Epyx, Inc., 862 F.2d 204, 209 (9th Cir. 1988)
                                                             15
                                                                  (finding features that “necessarily follow from the idea of a martial arts karate combat game, or are
                                                             16
                                                                  inseparable from, indispensable to, or even standard treatment of the idea of the karate sport … are
                                                             17
                                                                  not protectable”). Tellingly, the only copyright registrations alleged in the Complaint are for
                                                             18
                                                                  “certain” aspects of the Dragon Link games (Compl. ¶ 134), such as visual “images” and two
                                                             19
                                                                  different themes of a “Hold & Spin Feature.” See Compl, Ex. A; RJN, Exs. A - C. But as this
                                                             20
                                                                  material—such as the expression of the idea of an emperor or goddess—is completely different from
                                                             21
                                                                  any visual materials in any Jewel of the Dragon games, Aristocrat does not limit its “copyrighted
                                                             22
                                                                  work” to the collection of those audiovisual elements (nor could it given the registrations are from
                                                             23
                                                                  four different games). Because L&W does not have fair notice of which elements within which game
                                                             24
                                                                  Aristocrat is claiming to be protectable, L&W cannot defend against such claims, which warrants
                                                             25
                                                             26
                                                             27   15
                                                                    Functional elements of the games, such as the use of red and gold, which symbolize luck and
                                                             28   prosperity in Chinese culture (see RJN, Ex. J) are similarly unprotectable.
                                                                                                              17
                                                              1   dismissal.

                                                              2          As Aristocrat fails to satisfy the minimum level of specificity necessary to give L&W and

                                                              3   this Court fair notice of its alleged copyright, its claim should be dismissed.
                                                              4                  2.      Aristocrat Fails To Plausibly Allege Infringement
                                                              5          Aristocrat also fails to plead which L&W works, and which elements of those works,
                                                              6   allegedly infringe Aristocrat’s protected expression in its purported copyright. To plausibly allege
                                                              7   infringement, Aristocrat “must allege that a specific accused work infringes upon a specific, fixed,
                                                              8   protected work.” Tangle Inc. v. Aritzia, Inc., --- F. Supp. 3d ---, 2023 WL 6883369, at *3 (N.D. Cal.
                                                              9
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                                                                  Oct. 18, 2023).
                                                             10          Despite acknowledging that Jewel of the Dragon “is a game series” that comes in “multiple
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                                                             11   game themes” and in “a digital version” (Compl. ¶ 72), Aristocrat fails to offer sufficient facts
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                                                             12   pertaining to which version of which Jewel of the Dragon game allegedly infringes any copyright.
                                                             13
                                                                  Critically, as Aristocrat is well aware, there are four different Jewel of the Dragon games, all
                                                             14
                                                                  released at different times, and in different versions with distinct audiovisual elements. But
                                                             15
                                                                  Aristocrat’s Complaint fails to identify any specific theme or version of the games, and merely
                                                             16
                                                                  includes an assortment of images that appear to be from old versions of an unidentified Jewel of the
                                                             17
                                                                  Dragon game that is no longer distributed by L&W. See supra, Section II; RJN, Ex. H. The only
                                                             18
                                                                  reference to a specific Jewel of the Dragon theme is to L&W’s Red Phoenix game, which
                                                             19
                                                                  demonstrates that the parties’ protectable expressions of common motifs in Asian-themed games are
                                                             20
                                                                  completely different. Indeed, Aristocrat does not even allege the artwork in L&W’s game is
                                                             21
                                                                  “substantially similar” to “the Autumn Moon version of Dragon Link” as to plead a copyright
                                                             22
                                                                  infringement claim—nor could it given the images share no similarities other than the idea of “a
                                                             23
                                                                  dark-haired woman” in costume (Compl. ¶ 82):
                                                             24
                                                             25
                                                             26
                                                             27
                                                             28
                                                                                                               18
                                                              1     Aristocrat Dragon Link – Autumn Moon               L&W Jewel of the Dragon – Red Phoenix

                                                              2

                                                              3
                                                              4
                                                              5
                                                              6   L&W cannot evaluate Aristocrat’s claim and its defenses without basic facts regarding the specific

                                                              7   version and theme of Jewel of the Dragon that Aristocrat alleges to be infringing, the absence of

                                                              8   which dooms Aristocrat’s copyright claim.

                                                              9
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                                                                                 3.      In the Alternative, Aristocrat’s Failure to Timely Register Any
                                                                                         Copyright Precludes Statutory Damages and Attorneys’ Fees
                                                             10
                                                                         Aristocrat’s admission that it has not registered “the copyrighted work” for which it claims
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                                                             11
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                                                             12   copyright protection precludes recovery of statutory damages and attorneys’ fees. See 17 U.S.C.

                                                             13   § 412(2). Therefore, to the extent the entire copyright claim is not dismissed, these remedies should

                                                             14   be stricken for Aristocrat’s failure to comply with registration requirements.

                                                             15          C.      ARISTOCRAT FAILS TO STATE A PLAUSIBLE CLAIM FOR TRADE
                                                                                 DRESS INFRINGEMENT
                                                             16
                                                                         Aristocrat’s vague allegations related to its trade dress claim neither provide fair notice of its
                                                             17
                                                                  claimed trade dress nor plausibly allege ownership of a protectable trade dress. “To withstand a
                                                             18
                                                                  motion to dismiss an infringement claim under § 43(a) of the Lanham Act … a plaintiff must identify
                                                             19
                                                                  the mark and allege three basic elements: (1) distinctiveness [or secondary meaning]; (2)
                                                             20
                                                                  nonfunctionality; and (3) likelihood of consumer confusion.” RDF Media Ltd. v. Fox Broad. Co.,
                                                             21
                                                                  372 F. Supp. 2d 556, 562 (C.D. Cal. 2005). Aristocrat must clearly articulate its trade dress to allow
                                                             22
                                                                  for an understanding of the basis for the claimed trade dress and how it is infringed.
                                                             23
                                                                                 1.      Aristocrat Fails to Provide Fair Notice of Its Claimed Trade Dress
                                                             24
                                                                         Aristocrat’s abstract statement of vaguely-defined trade dress elements fails to put L&W on
                                                             25
                                                                  fair notice of the concrete bounds of Aristocrat’s alleged trade dress. “[C]ourts in [the Ninth Circuit]
                                                             26
                                                                  have required trade dress plaintiffs, at the very least, to provide adequate notice by including in their
                                                             27
                                                                  complaint a complete recitation of the concrete elements of their alleged trade dress.” YZ Prods. v.
                                                             28
                                                                                                                19
                                                              1   Redbubble, Inc., 545 F. Supp. 3d 756, 767 (N.D. Cal. 2021) (emphasis added). However, Aristocrat

                                                              2   broadly describes its trade dress as “[t]he look and feel of the Dragon Link Standard Logo, Dragon

                                                              3   Link Jackpot Display, Dragon Link Orb-and-Flame Graphics, and Dragon Link Bonus Feature,
                                                              4   along with other distinctive audiovisual elements in the Dragon Link games[.]” Compl. ¶ 44. This
                                                              5   open-ended listing of the elements of its trade dress and vague allegations regarding the combination
                                                              6   of such components does not provide the requisite specificity to put L&W on fair notice of
                                                              7   Aristocrat’s alleged trade dress.16
                                                              8          Importantly, the all-encompassing, undefined “other distinctive audiovisual elements” fails
                                                              9
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                                                                  to provide L&W “with notice because it does not clearly delineate the boundaries of the protection
                                                             10   [Aristocrat] claims,” which alone warrants dismissal of the claim. EVIG, LLC v. Natures Nutra Co.,
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                                                             11   --- F.Supp.3d ---, 2023 WL 4934339, at *4–5 (D. Nev. Aug. 2, 2023) (“Because plaintiff has not
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                                                             12
                                                                  provided a bounded list of protectible elements … in its purported trade dress, the court will dismiss
                                                             13
                                                                  this claim”); see also Mosaic Brands, Inc. v. Ridge Wallet LLC, No. 2:20-CV-04556-AB-JCx, 2020
                                                             14
                                                                  WL 6821013, at *6 (C.D. Cal. Oct. 29, 2020) (“Courts have often dismissed trade dress claims for
                                                             15
                                                                  failing to provide a complete list of elements where the list of alleged trade dress elements is
                                                             16
                                                                  preceded by a non-limiting qualifier.”).
                                                             17
                                                                         Moreover, of the alleged trade dress elements listed, many are either impermissibly vague or
                                                             18
                                                                  not defined at all. Sleep Sci. Partners v. Lieberman, No. 09-04200 CW, 2010 WL 1881770, at *3
                                                             19
                                                                  (N.D. Cal. May 10, 2010) (granting motion to dismiss for failure to provide “an adequate definition
                                                             20
                                                                  of the elements comprising” the trade dress as lack of “adequate notice”). For example, L&W has
                                                             21
                                                                  no notice of what constitutes the “Dragon Link Bonus Feature” that is part of the trade dress as
                                                             22
                                                             23
                                                             24
                                                                  16
                                                             25      Aristocrat does not allege trade dress rights in any of the elements, standing alone, nor could it.
                                                                  For example, with respect to the “Dragon Link Standard Logo” element, L&W obtained a
                                                             26   registration for the mark JEWEL OF THE DRAGON in 2012, well before Aristocrat’s claimed first
                                                                  use of DRAGON LINK in 2017. See RJN, Exs. E, F. L&W’s many other trademark registrations
                                                             27
                                                                  incorporating the word DRAGON also demonstrate that Aristocrat does not have exclusive rights in
                                                             28   a logo incorporating the word “Dragon.” See RJN, Ex. G.
                                                                                                               20
                                                              1   Aristocrat provides no definition for this claimed trade dress element.17 Other elements are defined

                                                              2   in such a vague way as to provide no adequate notice of the trade dress, such as the “Dragon Link

                                                              3   Orb-and-Flame Graphics,” which Aristocrat describes as “[t]he red flame flare and glowing orb
                                                              4   graphics [that] appear consistently throughout various aspects of the Dragon Link games.” Compl.
                                                              5   ¶ 28 (emphasis added). It is unclear where these graphics appear, if they appear in the same manner
                                                              6   or at all in different themed games,18 or how these generic graphics constitute protectable trade dress.
                                                              7   See SCG Characters, LLC v. Telebrands Corp., No. CV-15-00374-DDP-AGRX, 2015 WL 4624200,
                                                              8   at *7 (C.D. Cal. Aug. 3, 2015) (dismissing trade dress claim where identification of trade dress
                                                              9
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                                                                  elements such as “brightly colored fur” was insufficient to plead a cognizable trade dress claim with
                                                             10   requisite particularity); Homeland Housewares, LLC v. Euro-Pro Operating LLC, No. CV-14-03954
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                                                             11   DDP (MAN), 2014 WL 6892141, at *3 (C.D. Cal. Nov. 5, 2014) (dismissing trade dress claim
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                                                             12
                                                                  because description of claimed trade dress as “the color scheme, fonts, phraseology, and overall look
                                                             13
                                                                  and feel of the Plaintiff’s product packaging” did not sufficiently identify the particular elements
                                                             14
                                                                  sought to be protected).
                                                             15
                                                                         L&W cannot defend against a claim of trade dress infringement without information on the
                                                             16
                                                                  specific trade dress at issue, which warrants dismissal of the trade dress claim.
                                                             17
                                                                                 2.      Aristocrat’s Trade Dress Claim Is Precluded By Copyright Law
                                                             18
                                                                         Aristocrat’s alleged trade dress, which appears to primarily include audiovisual elements of
                                                             19
                                                                  gameplay, is a functional repackage of its copyright claim that Aristocrat improperly attempts to
                                                             20
                                                                  shoehorn into a Lanham Act claim. Courts have historically limited the application of the Lanham
                                                             21
                                                                  Act so as not to encroach on copyright interests. See Dastar Corp. v. Twentieth Century Fox Film
                                                             22
                                                             23
                                                                  17
                                                             24     To the extent Aristocrat’s “Dragon Link Bonus Feature” is meant to refer to the “Dragon Link
                                                                  Hold & Spin Feature,” it is unclear which “Hold & Spin Feature” from which Dragon Link game
                                                             25   and which portions of those features are encompassed by that definition.

                                                             26   18
                                                                     Like its copyright claim, Aristocrat does not allege whether or how its various trade dress elements
                                                                  appear across the ten thematically-distinct versions of its Dragon Link series, or whether its claimed
                                                             27
                                                                  trade dress is even part of each game. Nor does Aristocrat provide any notice regarding which
                                                             28   version of which L&W game it contends infringes on its alleged trade dress.
                                                                                                                21
                                                              1   Corp., 539 U.S. 23, 33 (2003) (declining to apply Lanham Act in manner that would cause a “conflict

                                                              2   with the law of copyright”); Shaw v. Lindheim, 919 F.2d 1353, 1364–65 (9th Cir. 1990) overruled

                                                              3   on other grounds by Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th
                                                              4   Cir. 2020) (declining to “expand the scope of the Lanham Act to cover cases in which the Federal
                                                              5   Copyright Act provides an adequate remedy”). Yet, Aristocrat articulates a cause of action for trade
                                                              6   dress, claiming trade dress rights over various “audiovisual elements” of its Dragon Link product
                                                              7   that change throughout gameplay (see, e.g., Compl. ¶¶ 44, 77-81), which falls under the purview of
                                                              8   the Copyright Act. Where the alleged trade dress elements are “squarely within the dominion of
                                                              9
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                                                                  copyright law,” as they are here, permitting the claim to proceed “would render copyright law
                                                             10   superfluous if courts were to construe claims such as these as warranting trademark protection.”
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                                                             11   RDF Media, 372 F. Supp. 2d at 564.
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                                                             12
                                                                                 3.      Aristocrat Fails to Plausibly Plead Acquired Distinctiveness
                                                             13
                                                                         Product configuration trade dress, as Aristocrat appears to claim here (but which it expands
                                                             14
                                                                  beyond protectible trade dress), cannot be inherently distinctive; rather, “in an action for
                                                             15
                                                                  infringement of unregistered trade dress under § 43(a) of the Lanham Act, a product’s design is
                                                             16
                                                                  distinctive, and therefore protectible, only upon a showing of secondary meaning.” Wal-Mart Stores,
                                                             17
                                                                  Inc. v. Samara Bros., 529 U.S. 205, 216 (2000). Aristocrat’s conclusory allegations do not amount
                                                             18
                                                                  to a plausible claim that its alleged trade dress has acquired distinctiveness, which requires “a mental
                                                             19
                                                                  recognition in buyers’ and potential buyers’ minds that products connected with the [mark] are
                                                             20
                                                                  associated with the same source.” Art Attacks Ink, LLC v. MGA Entm’t Inc., 581 F.3d 1138, 1145
                                                             21
                                                                  (9th Cir. 2009) (quotation omitted). Aristocrat’s allegations of secondary meaning are not only
                                                             22
                                                                  conclusory, they are unsupported and contradicted elsewhere in the Complaint. For example,
                                                             23
                                                                  Aristocrat concedes that its “widespread use” of elements of its trade dress is not exclusive,
                                                             24
                                                                  acknowledging that “dozens” of competitors use “Hold & Spin” features similar to its own (Compl.
                                                             25
                                                                  ¶ 108), which demonstrates this element (if part of the trade dress) is not a source identifier.
                                                             26
                                                                  Sunlighten, Inc. v. Finnmark Designs, LLC, 595 F. Supp. 3d 957, 970 (D. Nev. 2022) (finding no
                                                             27
                                                                  acquired distinctiveness where no evidence that use of trade dress was exclusive). Furthermore, none
                                                             28
                                                                                                               22
                                                              1   of the facts alleged in the Complaint to support acquired distinctiveness relate to the claimed trade

                                                              2   dress, only certain elements of the trade dress individually. Nowhere in the Complaint—not on the

                                                              3   game “cabinet,” not in the depicted advertising, not in the game images, not in the third-party
                                                              4   publications—do the alleged trade dress elements appear together to demonstrate consumers
                                                              5   associate these elements with Aristocrat. See Compl. ¶¶ 48-50. Aristocrat has not alleged sufficient
                                                              6   facts to state a plausible claim that trade dress made up of the collection of elements asserted in the
                                                              7   Complaint has acquired distinctiveness.
                                                              8                  4.      Aristocrat Fails to Plausibly Allege Its Trade Dress Is Non-Functional
                                                              9
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                                                                         “The functionality doctrine prevents trademark law, which seeks to promote competition by
                                                             10   protecting a firm’s reputation, from instead inhibiting legitimate competition by allowing a producer
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                                                             11   to control a useful product feature.” Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159, 164
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                                                             12   (1995). Aristocrat simply alleges that “the Dragon Link Trade Dress is non-functional” (Compl. ¶¶
                                                             13
                                                                  46, 144) without any further factual allegations to support this conclusory allegation, which is
                                                             14
                                                                  insufficient to plausibly allege protectable trade dress. Deckers Outdoor Corp. v. Fortune Dynamic,
                                                             15
                                                                  Inc., No. CV 15-769 PSG (SSX), 2015 WL 12731929, at *4 (C.D. Cal. May 8, 2015). Many of the
                                                             16
                                                                  elements of its alleged trade dress are plainly functional, e.g., “[a] tiered list of gaming jackpots and
                                                             17
                                                                  bonuses,” and a prize amount that “appears against a black background” (Compl. ¶ 27), the
                                                             18
                                                                  monopoly on which would significantly inhibit competition. By the same token, common aesthetic
                                                             19
                                                                  elements in slot games, such as coin showers that celebrate wins and the use of red and gold colors
                                                             20
                                                                  to symbolize good luck and prosperity, are not subject to trademark protection. See, e.g., LTTB LLC
                                                             21
                                                                  v. Redbubble, Inc., 840 F. App’x 148, 152 (9th Cir. 2021) (finding “marks do not function as
                                                             22
                                                                  trademarks because they are aesthetic only and do not identify the source of the goods.”).
                                                             23
                                                                                 5.      Aristocrat Fails to Provide Notice of Alleged Likelihood of Confusion
                                                             24
                                                                         As with its copyright claim, Aristocrat fails to plead which version of which L&W game
                                                             25
                                                                  Aristocrat contends infringes on its alleged trade dress. For example, the current versions of the
                                                             26
                                                                  Jewel of the Dragon logo and jackpot display are not as depicted in the Complaint and, as shown
                                                             27
                                                                  below, not similar to the “Dragon Link Standard Logo” or “Dragon Link Jackpot Display”:
                                                             28
                                                                                                                23
                                                                              Aristocrat’s Dragon Link                        L&W’s Jewel of the Dragon
                                                              1
                                                              2

                                                              3
                                                              4
                                                              5   Although the above demonstrates that L&W will show there is no likelihood of confusion as a matter

                                                              6   of law, L&W cannot defend against claims without fair notice of the specific versions and elements

                                                              7   of its games that Aristocrat contends are likely to cause confusion.19

                                                              8          D.      ARISTOCRAT FAILS TO STATE A PLAUSIBLE CLAIM FOR DECEPTIVE
                                                                                 TRADE PRACTICES
                                                              9
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                                                                         To plead a claim under the Nevada Deceptive Trade Practices Act (NDTPA), Aristocrat must
                                                             10
                                                                  allege that L&W, in the course of its business, “[k]nowingly makes a false representation as to the
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                                                             11
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                                                                  source, sponsorship, approval or certification of goods or services for sale or lease.” Nev. Rev. Stat.
                                                             12
                                                                  § 598.0915(2). To survive a motion to dismiss, the elements of an NDTPA claims must be pled with
                                                             13
                                                                  particularity pursuant to Federal Rule of Civil Procedure 9(b). Switch, Ltd. v. Uptime Inst., LLC, 426
                                                             14
                                                                  F. Supp. 3d 636, 643 (D. Nev. 2019). Aristocrat’s allegations merely recite the elements of the
                                                             15
                                                                  NDTPA (Compl. ¶ 160), which is insufficient to plead a knowingly false representation with the
                                                             16
                                                                  requisite particularity under Rule 9(b). This claim also fails for the same reasons as the copyright
                                                             17
                                                             18   and trade dress claims, and because the alleged “Dragon Link Trade Dress” is equivalent to rights

                                                             19   protected by federal copyright law, this claim is preempted under the Copyright Act. Kodadek v.

                                                             20   MTV Networks, Inc., 152 F.3d 1209, 1213 (9th Cir. 1998).

                                                             21   V.     CONCLUSION

                                                             22          For the foregoing reasons, Aristocrat’s Complaint should be dismissed in its entirety and

                                                             23   with prejudice pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

                                                             24
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                                                                  19
                                                                    The Court may dismiss the Complaint if it determines as a matter of law from the pleadings that
                                                             27
                                                                  confusion is unlikely. Murray v. Cable Nat’l Broad. Co., 86 F.3d 858, 860 (9th Cir. 1996), as
                                                             28   amended (Aug. 6, 1996).
                                                                                                           24
                                                                  Respectfully submitted,
                                                              1
                                                                  DATED this 9th day of April, 2024.
                                                              2

                                                              3
                                                                                                               CAMPBELL & WILLIAMS
                                                              4
                                                                                                            By: /s/ Philip R. Erwin
                                                              5                                                PHILIP R. ERWIN, ESQ. (11563)
                                                                                                               710 South Seventh Street
                                                              6                                                Las Vegas, Nevada 89101
                                                              7
                                                              8                                                JONES DAY

                                                              9
710 SOUTH SEVENTH STREET, SUITE A, LAS VEGAS, NEVADA 89101




                                                                                                               HAROLD K. GORDON, ESQ.
                                                                                                               (pro hac vice)
                                                             10
                                                                                                               RANDALL E. KAY, ESQ.
                                                                                                               (pro hac vice)
           Phone: 702.382.5222 • Fax: 702.382.0540




                                                             11
                                                                                                               ANNA E. RAIMER, ESQ.
               www.campbellandwilliams.com




                                                             12                                                (pro hac vice)

                                                             13                                                Attorneys for Defendants Light &
                                                                                                               Wonder, Inc., LNW Gaming, Inc., and
                                                             14
                                                                                                               SciPlay Corporation
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                                                                                                  CERTIFICATE OF SERVICE
                                                              1
                                                                         I hereby certify that on the 9th day of April, 2024, I caused a true and correct copy of the
                                                              2

                                                              3   foregoing Defendants’ Motion to Dismiss Plaintiffs’ Complaint to be served via the United States

                                                              4   District Court CM/ECF system on all parties or persons requiring notice.
                                                              5
                                                              6                                               /s/ Philip R. Erwin
                                                                                                              An employee of Campbell & Williams
                                                              7
                                                              8
                                                              9
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                                                                                              INDEX OF EXHIBITS
                                                              1
                                                              2   Exhibit No.                        Document                           Page Nos.

                                                              3       -         Declaration of Anna E. Raimer                              -
                                                                      A         Copyright Registration No. VA 2-369-827 for visual        1–3
                                                              4                 material, entitled “Autumn Moon – Goddess”
                                                                      B         Copyright Registration No. VA 2-372-588 for visual        4–6
                                                              5
                                                                                material, entitled “Golden Century – Emperor –
                                                              6                 Image”
                                                                      C         Copyright Registration No. VA 2-372-489 for visual        7–9
                                                              7                 material, entitled “Peacock Princess – Princess –
                                                                                Image”
                                                              8       D         Copyright Registration No. VA 2-372-589 for visual       10 – 12
                                                              9                 material, entitled “Grand Legends – Magic Warrior –
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                                                                                Image”
                                                             10       E         Copy of the registration certificate and Trademark       13 – 16
                                                                                Status and Document Retrieval (“TSDR”) page,
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                                                             11                 obtained from the U.S. Patent and Trademark Office
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                                                                                (“USPTO”) database, for U.S. Trademark
                                                             12                 Registration No. 5,360,457 for DRAGON LINK,
                                                             13                 which issued December 19, 2017, and lists a first use
                                                                                date of July 10, 2017
                                                             14       F         Copy of the registration certificate and TSDR page,      17 – 20
                                                                                obtained from the USPTO database, for U.S.
                                                             15                 Trademark Registration No. 4,132,968 for JEWEL
                                                                                OF THE DRAGON, which issued April 24, 2012,
                                                             16
                                                                                and lists a first use date of September 15, 2011.
                                                             17       G         Copies of registration certificates and TSDR pages,     21 – 138
                                                                                obtained from the USPTO database, for twenty-six
                                                             18                 U.S. trademark registrations owned by Light &
                                                                                Wonder, Inc. or its affiliates, which incorporate the
                                                             19                 word DRAGON or the foreign equivalent of the word
                                                                                DRAGON
                                                             20
                                                                      H         Copies of screen shots of visual materials from the     139 – 147
                                                             21                 current versions of the four different Jewel of the
                                                                                Dragon games: Prosperity Tortoise, Red Phoenix, A
                                                             22                 Thousand Warriors, and Valley of the Tiger
                                                                       I        Copies of screen shots of the “Dragon Link”             149 – 211
                                                             23                 webpages on Plaintiffs’ website
                                                             24       J         Copies of screen shots from (a) the Smithsonian’s       212 – 225
                                                                                National Museum of Asian Art’s website, (b)
                                                             25                 Virginia Commonwealth University’s website, and
                                                                                (c) Top China Travel’s website
                                                             26
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